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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

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 9      SECURITIES AND EXCHANGE                                 CASE NO. 2:22-cv-01009-TL
        COMMISSION,
10                                                              ORDER GRANTING LEAVE TO
                                Plaintiff,
11              v.                                              FILE AMICUS CURIAE BRIEFS

12      ISHAN WAHI et al,

13                              Defendants.

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            This matter comes before the Court on motions for leave to file amicus curiae briefs from
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     Blockchain Association (Dkt. No. 39), Investor Choice Advocates Network (Dkt. No. 43), and
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     the Chamber of Digital Commerce (Dkt. No. 56). The Court has reviewed each motion and
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     proposed brief, and no responses having been filed by the Parties, GRANTS the motions.
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     Blockchain Association, Investor Choice Advocates Network, and the Chamber of Digital
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     Commerce shall each file their respective amicus briefs on the docket within two (2) days of
20
     entry of this Order.
21
            Dated this 17th day of March 2023.
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23                                                           A
                                                             Tana Lin
24                                                           United States District Judge


     ORDER GRANTING LEAVE TO FILE AMICUS CURIAE BRIEFS - 1
